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   1                       UNITED STATES DISTRICT COURT

   2                      CENTRAL DISTRICT OF CALIFORNIA

   3               HONORABLE DAVID O. CARTER, JUDGE PRESIDING

   4                                 - - - - - - -

   5    ORANGE COUNTY CATHOLIC WORKER,     )
        et al.,                            )
   6                                       )     CERTIFIED
                  Plaintiffs,              )
   7                                       )
              vs.                          ) No. 8:18-CV-0155-DOC
   8                                       )     Item Number 15
        ORANGE COUNTY, et al.,             )
   9                                       )     Simultaneous with:
                                           )     8:18-0220-DOC
  10                                       )
                  Defendants.              )
  11    ___________________________________)

  12

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  15                  REPORTER'S TRANSCRIPT OF PROCEEDINGS

  16                      Settlement re City of Fullerton

  17                            Santa Ana, California

  18                         Monday, September 23, 2019

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   1    APPEARANCES FOR CASE 8:18-CV-0155 ORANGE COUNTY CATHOLIC
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        ALSO PRESENT:
  22
              Judge Jim Smith, Special Master
  23          Jesus Silva, City of Fullerton Mayor
              Sharon Quirk-Silva, Assemblywoman
  24

  25


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   1    APPEARANCES FOR CASE 8:18-CR-0220-DOC DAVID RAMIREZ, ET AL.
        v. THE COUNTY OF ORANGE:
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              laura.knapp@coco.ocgov.com
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        ALSO PRESENT:
  19
              Judge Jim Smith, Special Master
  20          Jesus Silva, City of Fullerton Mayor
              Sharon Quirk-Silva, Assemblywoman
  21

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           1           SANTA ANA, CALIFORNIA, MONDAY, SEPTEMBER 23, 2019

           2                               Item Number 15

           3                                (10:03 a.m.)

10:03      4                THE COURT:    Carol, if it's acceptable, Brooke, I'd

           5    like to call Fullerton -- upon Fullerton and the Mayor of

           6    Fullerton.

10:03      7                And, Mayor, any people that you brought with you.

           8    But, please, you're more than welcome.         Will you come up.

10:03      9                And also, Sharon Quirk-Silva, who's the

          10    Assemblywoman in this area.

10:03     11                MAYOR SILVA:    Thank you, Your Honor.

10:03     12                THE COURT:    First of all, welcome.

10:03     13                MAYOR SILVA:    Thank you, Your Honor.      And thank

          14    you for allowing me this chance to address the Court.

10:03     15                THE COURT:    And would you state your full name.        I

          16    certainly know you through these many --

10:03     17                MAYOR SILVA:    Yes.   That's right.

10:03     18                THE COURT:    Jesus Silva, City of Fullerton, Mayor.

10:03     19                     STATEMENT BY MAYOR OF FULLERTON

10:03     20                MAYOR SILVA:    And I'm just here to report a few

          21    things that the City of Fullerton is working on.          I know

          22    we -- we partnered with the North -- North Spa, and we're

          23    looking to open up the two shelters, uh, navigation centers

          24    in Placentia and Buena Park, and we're actively tryin'a get

          25    those done and -- and, uh, secure the funding for that.


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10:04      1                But -- but another note, we are also working with

           2    Illumination Foundation on trying to, uh, open 'nother

           3    recuperative center, where -- we've got a letter of intent

           4    with them.    They're out for a place so we -- where we can

           5    put 60, uh, recuperative beds and about 90 regular

           6    navigation beds, so we can get the support'a some of our

           7    homeless --

10:04      8                THE COURT:    About a total of 130?

10:04      9                MAYOR SILVA:    Uh, a hundred -- about 150 total

          10    beds there.    And we --

10:04     11                THE COURT:    Now this would be in addition and

          12    would probably clean up your city, wouldn't it?

10:04     13                MAYOR SILVA:    Yes.   It would be in addition to the

          14    two shelters.     And with this one, we -- we believe that we

          15    will have sufficient beds for our homeless population --

10:04     16                THE COURT:    Placentia --

10:04     17                MAYOR SILVA:    And Placentia --

10:04     18          (Simultaneous speaking.)

10:04     19                MAYOR SILVA:    And we can, uh, offer them the

          20    support/help they need and hopefully encourage them to get

          21    to one of those beds.

10:04     22                And just in a few weeks we'll be opening up the

          23    armory.    And on that note, we're looking for storage

          24    locations for the homeless to put their items so that they

          25    don't have to leave 'em un-secure.        We think that will


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           1    facilitate them getting to a bed at the armory while we're

           2    doing the shelters.

10:05      3                And we're also working with, uh -- with

           4    Illumination Foundation to open up a safe parking location.

           5    We wanna get some those families that are in motor homes and

           6    cars, get 'em in, get 'em assessed, get 'em a permanent

           7    place to live.     So we've been doing all that to try and --

           8    and do our share -- uh, a humane thing to do.

10:05      9                We -- last month we -- from what I understand,

          10    there was 19 people that died, homeless people that passed

          11    away.   And, uh, one is too many.       And we wanna avoid that.

          12    So we're actively working with the County, uh, the State

          13    Assembly, the Governor, yourself, Illumination -- anyone

          14    that -- that I can reach to -- to say, Help us open up these

          15    two locations.

10:05     16                And on that note, we've also declared a state of

          17    emergency so that we -- if need to, we can change the zoning

          18    for any location that we might find for this recuperative

          19    center.

10:06     20                THE COURT:    Now --

10:06     21          (Simultaneous speaking.)

10:06     22                THE COURT:    -- the numbers will always be in

          23    contention.    I understand that.

10:06     24                But the benefit I'm hearing is that there's a

          25    potentiality of adding on an additional 130 to 150 beds.


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           1    And, most importantly, 60 of those may be recuperative.

10:06      2                MAYOR SILVA:    Yeah.

10:06      3                THE COURT:    We'll worry about the numbers later,

           4    as we talk to the plaintiffs, et cetera.         But the point is

           5    you're making incredible strides and not waiting for Brea

           6    and Placentia.     Plus the armory's opening which'll give us

           7    some resources.

10:06      8                My compliments.     We're getting there.     Your

           9    leadership is very much appreciated in this regard.           And I

          10    think the City of Fullerton is going to eventually be the

          11    beneficiary.    Because it doesn't make sense to enforce 20

          12    people in an encampment and have them simply move from,

          13    let's say Father Quince's location, to the library, and then

          14    move again.    So that holistic approach is very, very

          15    important.    And let's get the whole city onboard.         Okay?

10:07     16                MAYOR SILVA:    Yeah.   No.   Thank you.    I think we

          17    have the will'a the Council to do these things, and we're

          18    looking forward'a solving this -- this issue.

10:07     19                THE COURT:    Okay.    Look forward to walking.     You

          20    know, you've got my phone number.         I've got yours.    You've

          21    got Judge Smith's.     You've got the plaintiffs.       And we'll

          22    continue on with the discussion.        But if this happens, this

          23    is an added addition of 150 beds that was totally

          24    unexpected.

10:07     25                MAYOR SILVA:    Yes.


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10:07      1                THE COURT:    Very much appreciated.

10:07      2                I'd like to call upon --

10:07      3                MAYOR SILVA:    Thank you, Your Honor.

10:07      4                THE COURT:    -- Sharon Quirk-Silva, Assemblywoman,

           5    who's been extremely helpful with some issues in this

           6    matter.    And you represent this district.

10:07      7                 STATEMENT BY ASSEMBLYWOMAN QUIRK-SILVA

10:07      8                ASSEMBLYWOMAN QUIRK-SILVA:      Good morning,

           9    Honorable Judge Carter and Honorable Judge Smith.

10:07     10                I am assembly member Sharon Quirk-Silva.         I

          11    represent North Orange County, including the cities of

          12    Fullerton, Buena Park, La Palma, Stanton, Cypress, and West

          13    Anaheim.

10:07     14                From a year ago, I'm very excited because I do

          15    think there has been progress made, steady progress.             I

          16    think there's some optimistic things happening at the local

          17    level, state, county and federal level.         That being said, we

          18    are in a housing crisis and it's a moral crisis.

10:08     19                When we look at not only the deaths in

          20    Orange County throughout the handful of years that we've

          21    really been paying attention, uh, because of both of your

          22    leadership -- I think making that trip -- initial trip to

          23    the riverbed was the step that really started much of this

          24    effort.

10:08     25                But the bottom line is, we have many elected


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         1   officials throughout the County.        And as simply as can be

         2   said, if they do their job, and every city took

         3   responsibility for those that are experiencing homelessness

         4   in their communities, we probably wouldn't be here talking

         5   about it.    And so I would say to the cities:        Do your job.

         6   Because the issue is that the State is playing a role, the

         7   County -- but we have to get the local municipalities to say

         8   "yes" to housing first.

10:09    9               As a just overarching comment:       We need more

        10   building.    We need permanent/supportive.       We need market

        11   rate.    We need all types of housing.      Because it isn't just

        12   the lowest in poverty experiencing housing issues, but it's

        13   also our seniors and it's also our millennials.

10:09   14               So a few examples that the State has been working

        15   on that I think are somewhat bright -- and, again, part of

        16   this effort is, I sit on the Housing Committee at the

        17   State -- one is we have several pieces of legislation that

        18   have moved forward and are at the Governor's desk regarding

        19   ADU's or "granny flats," if you want to say it that way.

10:09   20               In the '40s, '50s, '60s you did see quite a few of

        21   those built which were named "granny flats" or

        22   "mother-in-law units."      And they served a purpose.       They

        23   really slowed down after that partly because of the permits,

        24   fees.    Sometimes they can be in between 10,000 to 50,000,

        25   depending on the city and location.        And there's also many


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         1   other regulations:      How many parking spots, uh, all types'a

         2   regulations.     If these bills are passed at the state level,

         3   you will see many more ADU's.

10:10    4               What does that mean?     Perhaps a mother-in-law

         5   lives there, but it could be a millennial, a young family.

         6   It could be a senior.      So that's housing that can be built

         7   on existing land.

10:10    8               Second, there's also been legislation moved

         9   forward to look at some types of housing under Caltrans

        10   property.    Looking at streamlining for CEQA, uh, processes

        11   for emergency shelters so they don't need to take a year,

        12   two years to move forward.

10:11   13               And also another bill that relates to supporting

        14   community colleges or colleges that choose to allow students

        15   to park on campus, in a safe place, use campus facilities.

10:11   16               So there are many efforts throughout the state.

        17   The Governor opened last January's session with saying that

        18   he very much wanted to tackle this issue, and one was to

        19   really look at existing surplus property throughout the

        20   state.    And much of that surplus property will be

        21   inventoried and put online so that there may be developers

        22   or communities that wish to work together to support

        23   additional housing on those lands.

10:11   24               Here in Orange County, we have Fairview, which is

        25   a State land, the former hospital for disabled -- uh,


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         1   community.    We worked very closely with the Governor and

         2   through legislation to look at housing some of our most

         3   severely mentally ill people here in Orange County; and with

         4   that, we were able to get an agreement through the

         5   Governor's office that once we have -- the 40 disabled

         6   patients that are there are moved to other living

         7   circumstances, that, uh, we would be able to put up to 200.

10:12    8               Now, that is a very small number for 118 acres.

         9   But over the next handful of years, I believe that we will

        10   be able to continue to work at a master plan for Fairview.

10:12   11               So I think there is some good news.        But the

        12   bottom line:     The cities that are moving forward without

        13   being sued, the cities that are doing creative -- whether it

        14   be public-private partnerships, like with Illumination --

        15   they are seeing some of the results.

10:13   16               At -- one thing that was mentioned is that we

        17   continue to see some evolvement where hospitals and/or

        18   county jails are starting to look at what type of programs

        19   they're offering and the cost, and now joining in some

        20   creative ways to help lessen their costs, whether it would

        21   be with the "Minds OC" model.

10:13   22               But I think there is plenty of good news, but we

        23   have to be diligent and we have to make sure that we're all

        24   moving in the same pathway.       And so I will end with -- one'a

        25   the members here mentioned judicial guidance, which in


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         1   essence means cities -- some cities are having to be pushed

         2   to do this.    And as they wait or as they stall, others have

         3   to take on the members of our community that are moving to

         4   their cities.

10:14    5               So, once again, I'll end with:       Do your job.

         6   Local.    We will continue at the State to try to do as much

         7   as we can.    And there are quite a lot of funds coming down

         8   from the State.     But again, each city and the County has to

         9   apply for those funds.      We can no longer use the excuse that

        10   Orange County does not get its fair share.

10:14   11               Orange County will get its fair share if they

        12   apply and they do all the things that are necessary.           As was

        13   noted in this Court a handful of months ago, we leave a

        14   lotta money on the table for the lack of even applying for

        15   the funds.    So I'm happy to be part of this process.

10:14   16               We will be hosting a formal State Select

        17   Committee.    I'm the chair of the Orange County Select

        18   Committee on chronic homelessness, and that will be

        19   November 5th at 9:00 p.m. at the Buena Park City Hall.           And

        20   we are hoping that we will have people who are going to

        21   testify and really put together some of the outcomes and

        22   best practices from the State.

10:15   23               Thank you so much.

10:15   24               THE COURT:    Let me ask you a couple things.       And

        25   these aren't -- you've done so much, so...


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10:15    1               ASSEMBLYWOMAN QUIRK-SILVA:      Thank you.

10:15    2                           REMARKS BY THE COURT

10:15    3               THE COURT:    These are just very humbling thoughts.

10:15    4               First of all, you've been extraordinarily helpful

         5   with Fairview.     'Cause there's 10 percent of that population

         6   out there that are just completely helpless.          They don't

         7   even know that they have a choice between going to jail or

         8   going to a shelter.      They just can't function.

10:15    9               Judge Smith and I've seen that at 4:30 in the

        10   morning -- Jim -- with the lady with her dress all the way

        11   up over her head and babbling.       She doesn't belong in a

        12   jail; and no shelter can take her, so she had to literally

        13   be left on the street.

10:16   14               Humbly, could you go to Williams or whoever or

        15   Steinberg or the Governor and ask one simple question:           Why

        16   aren't some of the mental health facilities reopening?           I

        17   know you've been instrumental in trying with Fairview with

        18   the first 200.

10:16   19               But what about Norwalk?      Because now we're hearing

        20   that Bellflower's coming in -- and, trust me, from the phone

        21   calls that I'm informally hearing from Bellflower, there are

        22   three or four cities, literally on Friday, hearing of their

        23   settlement for the first time, that are on the phone,

        24   realizing that they're gonna settle.        And I think the

        25   southern part of the L.A. cities are gonna lead the way.


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         1   It's not gonna be L.A.      It's not gonna be the County.       It's

         2   gonna be the cities first, just as it has with Santa Ana.

10:16    3               ASSEMBLYWOMAN QUIRK-SILVA:      I will.    I already had

         4   put that in my notes before you said that because I was

         5   interested in seeing who Bellflower's representatives were.

         6   And also they brought up the -- Norwalk, so they're going to

         7   be in the same --

10:16    8               THE COURT:    It's --

10:16    9               MAYOR SILVA:    -- scenario we're in, is, what do

        10   you do with -- when you say the 10 percent that really need

        11   "holistic model" of care, not only for mental health, but

        12   physical health and all those things that -- that are

        13   wraparound.    And we have the properties.

10:17   14               And we need -- that's what I'm saying:        We need to

        15   go after this.     It's not easy sometimes.      We pretty much

        16   battled with Costa Mesa over even the 200.         And we'll

        17   continue to do that until we can have places.          Where we have

        18   118 acres and at this point only 40 people there, that's

        19   just not acceptable.

10:17   20               THE COURT:    I know Mayor Foley and she's

        21   extraordinary.     I think she's gonna come along, not --

        22   because as long as people who are transported into Fairview

        23   are transported back to the community that they came from.

10:17   24               Fairview's always operated -- and historically

        25   there was never an issue.       I think it's the specter of those


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         1   200 people then having a gateway to come out into the

         2   Costa Mesa community.      That's not fair to them.

10:17    3               ASSEMBLYWOMAN QUIRK-SILVA:      Right.

10:17    4               THE COURT:    But these people are going to be, in a

         5   sense, so infirm that -- the 200 that we're taking, it seems

         6   to me that those people eventually need to go back to the

         7   community that they came from and that Costa Mesa should

         8   rest assured that these aren't day passes or anything of

         9   that nature.

10:18   10               The second thing is, I'munna reach out to you

        11   folks from the County.      Just a message -- and I'll make that

        12   transparent:     Supervisor Do, uh, Supervisor Bartlett, would

        13   you just send back the message that we need some

        14   coordination to knock down these old barriers between the

        15   counties?    L.A.'s suspicious of Orange County.

        16   Orange County's suspicious of L.A.        Riverside's suspicious

        17   of Orange County because of the statement made that we're

        18   gonna ship them all to the Inland Empire.         None of that's

        19   helpful.    And if we're gonna solve this homeless [sic], we

        20   need regionalization.      And I need the legislative branch.

        21   The Court doesn't wanna be in this business.          I can't find a

        22   central authority.

10:18   23               I doubt if its Mayor Garcetti because I think

        24   there's gonna be some pushback from Orange County.

10:18   25               Do's been exemplary.     I don't think there's gonna


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         1   be -- they're gonna trust Do or Orange County.          I don't see

         2   why Riverside should.      But the end result is we need that

         3   regionalization.

10:19    4               So I -- I'm asking for leadership coming from

         5   Orange County, or some coordination with Janice Hahn 'cause

         6   these are her cities up there that you're seeing.          Trust me,

         7   Bellflower's the first.      You're gonna see, very short period

         8   of time -- and I'm not being Pollyannish -- a lot of cities

         9   following up in this area.       I'd like you to take a

        10   leadership role.     I want a hero or heroine to emerge.        I

        11   want to become nonrelevant.

10:19   12               The third thing is, keep reaching out to the

        13   Assembly, please.     Change doesn't take place without

        14   everybody being uncomfortable.       Nobody gets un- -- is gonna

        15   be comfortable with this.       But unless the Assembly acts and

        16   we get in a leadership and centralization, these old

        17   barriers are stopping the solution to homelessness, as

        18   everybody bickers.      And then -- we're way past that because

        19   you win, but you don't win two years from now when our

        20   cities are inundated, and we're in the situation of

        21   Los Angeles or San Francisco where you -- boy, I hope we can

        22   get it back, but I doubt it -- or San Diego with hepatitis A

        23   and 500 cases breaking out.

10:20   24               The public's gonna ask some day, if we get

        25   hepatitis A, Hey, where were all of us?         You know why didn't


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         1   we speak out?     What are we doing from the hindsight?

10:20    2               We have no excuses.     There are none.

10:20    3               And the third and fourth thing is this:        Every

         4   city so far, except Costa Mesa, Anaheim -- help me, Carol,

         5   with this -- Orange -- the Court hasn't had jurisdiction

         6   over.    North County was never sued.      They voluntarily

         7   intervened.    Laguna.    Tustin.   These are all voluntary

         8   interventions.     Bellflower.    We're working now with over 20

         9   cities.    And I think that that's going to rapidly expand

        10   because the cities recognize one thing:         They can't wait for

        11   government.

10:20   12               Number two, they've gotta solve the problem now or

        13   we're just gonna be inundated, and you can't get it back,

        14   with disease, et cetera.

10:21   15               Number three, it's humane.

10:21   16               Number four, unless we act now, there's absolutely

        17   no excuse because, two years from now, however this

        18   litigation turns out, it's too late.        It just...

10:21   19               And if the cities prevail, the end result is all

        20   we have is a situation of which police force pushes on which

        21   police force, shoving people back and forth.          That's not a

        22   solution.

10:21   23               So it's all voluntary.      But I can promise you

        24   this:    Judge Smith, I, and eventually my magistrate judges

        25   are gonna resolve any issues that you have with the County


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         1   and the City.

10:21    2               I think we've had two with Santa Ana and Anaheim

         3   in over a year.     That litigation cost that we've saved alone

         4   is enough to build a shelter in every one of these cities.

         5   So the costs are phenomenally beneficial to the public.             And

         6   the litigation, quite frankly, is just going to eat our

         7   cities alive in terms of resources.

10:21    8               Now it's all voluntary.      But Judge Smith and I are

         9   willing to accept -- what? -- Los Angeles?         And some other

        10   counties that are calling, which I have to remain

        11   confidential, as early as this morning.         There's a lot more

        12   coming potentially.      I don't wanna be too Pollyannish about

        13   that but this is just the beginning.        This is not a day of

        14   any victory lap at all.      This is getting momentum.

10:22   15               And the conversation's changing from the old adage

        16   of We don't have a problem to now What are we gonna do about

        17   it?   That's a whole different issue.

10:22   18               I wanna thank you for --

10:22   19               ASSEMBLYWOMAN QUIRK-SILVA:      Exactly.

10:22   20              FINAL REMARKS BY ASSEMBLYWOMAN QUIRK-SILVA

10:22   21               ASSEMBLYWOMAN QUIRK-SILVA:      I just was gonna close

        22   with putting a face on this.       And I did this quite awhile

        23   ago when I was here, but we're coming up to October here.

        24   And, you know, October 12th, last year, my brother was one'a

        25   the people who died here on the streets of Orange County.


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         1   His name's Billy.     And Billy Jaso.     And I just mention his

         2   name and -- because so often we talk about "people" or

         3   "homeless" or those experiencing homeless.         And they all

         4   have a story.

10:23    5               And, yes, we have some that are mentally ill.           We

         6   have some that, as they stay on the streets longer, their

         7   mental health issues increase.       And then we have some that

         8   have addictions and mental health issues.         And then we have

         9   families -- single moms with children -- maybe they're not

        10   all on the street, but they may be going in and out of a

        11   shelter.    And we have a growing number of seniors that are

        12   very close to that next step of being on the street.

10:23   13               So as we talk about the homeless crisis, I think

        14   that it's really imperative that we keep in mind that the

        15   homeless doesn't just mean a name.        They are people.     And

        16   they're people that have stories.        And they're people

        17   that -- uh, there's a lotta judgment made.

10:23   18               And one thing that I read that I'll always

        19   remember is -- is just imagine your own life and -- whether

        20   you have a spouse or family -- and you have these

        21   interaction [sic] -- maybe you're hugging 'em, saying

        22   good-bye -- the last time a homeless person might've been

        23   hugged.

10:24   24               So that's where I'll stop.

10:24   25               THE COURT:    Do me another favor:     Just convey my


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         1   respects to the Governor.       Convey my respects to the

         2   President.    Apparently he was interested and out here as

         3   well.

10:24    4               ASSEMBLYWOMAN QUIRK-SILVA:      I will talk to the

         5   Governor. I don't know that I'll be talking --

10:24    6         (Simultaneous speaking.)

10:24    7               THE COURT:    You can talk to both of them.

10:24    8               ASSEMBLYWOMAN QUIRK-SILVA:      But if I do, I will.

10:24    9               THE COURT:    Well, I can't.    Somebody can.

10:24   10               But there is no excuse for helplessness [sic].

        11   This is a great County.      This is great region.      These

        12   problems are solvable.      And it doesn't take -- there's no

        13   one solution.     And the benefit of working together in these

        14   agreements is that if a Court makes a decision, that

        15   decision is frozen for ten years.        We have no chance to

        16   learn.    We have no chance to modify.      We're stuck with that

        17   decision for ten years or longer.

10:24   18               By these agreements, we're working together.         So

        19   by example, let's say that 60 percent of the population

        20   needed shelter, that 40 percent were always going to migrate

        21   or go to jail.     We don't know that in a year with good

        22   figures that the city shouldn't be spending at 60 percent.

10:25   23               Maybe, Bill, we're at 50 percent or 40 percent.

        24   Because we've gotten the people who've gone into shelter,

        25   who wanna go into shelter.       And the Court should be


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         1   adjusting those figures downward for taxpayer dollars or

         2   they could go up.     They could go either way.       But the point

         3   is we all have a chance to talk in a year with good figures,

         4   and have the chance to make the mistake and back up and do

         5   it right.

10:25    6               Anytime a Court rules, that's the end of the

         7   discussion and it's frozen.       So I look forward to working

         8   with you, the plaintiffs, and cities in this matter.           And

         9   flexibility's needed to get the solution.         No one solution

        10   fits all.    That's the benefit of these settlements.

10:25   11               I want to humbly thank you for your leadership.

10:25   12               ASSEMBLYWOMAN QUIRK-SILVA:      Thank you.

10:25   13               THE COURT:    All right.

10:25   14               ASSEMBLYWOMAN QUIRK-SILVA:      Thank you.

10:25   15         (Matter adjourned at 10:25 a.m.)

10:25   16                                   -oOo-

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10:25    1                                   -oOo-

10:25    2

10:25    3                                CERTIFICATE

10:25    4

10:25    5               I hereby certify that pursuant to Section 753,

         6   Title 28, United States Code, the foregoing is a true and

         7   correct transcript of the stenographically reported

         8   proceedings held in the above-entitled matter and that the

         9   transcript page format is in conformance with the

        10   regulations of the Judicial Conference of the United States.

10:25   11

10:25   12   Date:    September 24, 2019

10:25   13

10:25   14
10:25                                   /s/ Debbie Gale
10:25   15                             _________________________________
10:25                                  DEBBIE GALE, U.S. COURT REPORTER
10:25   16                             CSR NO. 9472, RPR, CCRR

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